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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA,

                  Plaintiff,

          v.                                               Case No. 10-cr-30166-JPG

  TONY BISHOP,

                  Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on the motion of defendant Tony Bishop to amend

his presentence investigation report (“PSR”) to remove ¶ 34, which describes a prior arrest

(without conviction) for a sex crime (Doc. 44). He did not object to this paragraph of the PSR at

the time the Court sentenced him. Bishop alleges that this arrest is preventing him from being

transferred by the Bureau of Prisons (“BOP”) to home confinement pursuant to the Coronavirus

Aid, Relief, and Economic Security Act, Pub. L. No. 116-136, 134 Stat. 281 (2020).

       The Court has no authority to alter a finding in the PSR at this point in the case. It is too

late to object to the PSR under Federal Rule of Criminal Procedure 32(f), which sets a deadline

of 14 days after the defendant receives the PSR. Furthermore, there is no indication ¶ 34

contains an error—that is, that Bishop was not, in fact, arrested as stated—so Federal Rules of

Criminal Procedure 35(a) and 36 can provide no basis to change the PSR. Bishop has not cited

any other authority for the Court to exercise jurisdiction over his request, and the Court is unable

on its own to discern any. See, generally, United States v. Mittelsteadt, 614 F. Supp. 887 (E.D.

Wis. 1985) (no jurisdiction to alter loss amount in the presentence report for consideration by

parole board), aff’d, 790 F.2d 39 (7th Cir. 1986).

       To the extent Bishop may be complaining about the BOP’s decision not to transfer him to
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home confinement, the Court has no jurisdiction to review that decision. “After a district court

sentences a federal offender, the Attorney General, through the BOP, has the responsibility for

administering the sentence.” United States v. Wilson, 503 U.S. 329, 335 (1992). The BOP then

has “plenary control” placement of the inmate, subject only to statutory limits. Tapia v. United

States, 564 U.S. 319, 331 (2011); United States v. Saunders, 986 F.3d 1076, 1078 (7th Cir.

2021). This includes the decision whether to house an inmate in a prison or in home

confinement, 18 U.S.C. § 3624(c)(2), and the Court has no jurisdiction to review that decision,

18 U.S.C. § 3621(b) (“Notwithstanding any other provision of law, a designation of a place of

imprisonment under this subsection is not reviewable by any court.”). Saunders, 986 F.3d at

1078 (noting that a court lacks authority to change an inmate’s place of imprisonment, although

it may recommend a different placement). The defendant may seek relief from the BOP by

filing an administrative remedy, but the Court cannot help him.

       For these reasons, the Court DISMISSES Bishop’s motion to alter the PSR (Doc. 44) for

lack of jurisdiction.

IT IS SO ORDERED.
DATED: June 7, 2021

                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             DISTRICT JUDGE




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